                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TENNESSEE
                       NORTHERN DIVISION (KNOXVILLE)

CIC SERVICES, LLC                      :
1111 N. Northshore Drive               :
Suite N325                             :
Knoxville, Tennessee 37919             :
                                       :
-and-                                  :
                                       :  CIVIL CASE NO. ___________________
RYAN, LLC                              :
Three Galleria Tower                   :
13155 Noel Rd., Suite 100              :
Dallas, Texas 75240-5090               :  JUDGE ___________________________
                                       :
        Plaintiffs,                    :
                                       :
v.                                     :
                                       :
INTERNAL REVENUE SERVICE               :  VERIFIED COMPLAINT FOR
1111 Constitution Avenue, N.W.         :       INJUNCTIVE AND
Washington, D.C. 20004,                :    DECLARATORY RELIEF
                                       :
DEPARTMENT OF THE TREASURY :
1500 Pennsylvania Avenue, N.W.         :
Washington, D.C. 20220                 :
                                       :
-and-                                  :
                                       :
THE UNITED STATES OF AMERICA :
 Serve:                                :
                                       :
 HON. JEFFERSON B. SESSIONS            :
 Attorney General of the United States :
 950 Pennsylvania Avenue, N.W.         :
 Washington, D.C. 20530,               :
                                       :
 -and-                                 :
                                       :
 ACTING U.S. ATTORNEY                  :
 800 Market Street, Suite 211          :
 Knoxville, Tennessee 37902            :
                                       :
        Defendants                     :
______________________________________________________________________________




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       Plaintiffs, by counsel, in accordance with Rules 2-3 and 8-11 of the Federal Rules of

Civil Procedure, states their claims for relief against the Defendants as follows:

                                     SUMMARY OF CASE

       This lawsuit seeks the following injunctive relief: setting aside IRS Notice 2016-66, as

modified by IRS Notice 2017-06; prohibiting Internal Revenue Service (“IRS”) enforcement of

its provisions regarding so-called “micro-captive transactions,”; and related declaratory relief.

The IRS issued Notice 2016-66 on November 1, 2016 (effective on that date) which required the

filing of certain informational returns by the Plaintiffs and thousands of other taxpayers on

January 30, 2017, under threat of severe monetary penalties, public embarrassment and ridicule.

IRS Notice 2017-08, issued on December 29, 2016, extended the filing date from January 30,

2017 to May 1, 2017. 1/


       The bases for the lawsuit are threefold. First, the IRS unlawfully issued Notice 2016-66,

which qualifies as a “legislative-type rule,” without first complying with the mandatory notice-

and-comment provisions of the Administrative Procedure Act (“APA”, 5 U.S.C. §553). Second,

Notice 2016-66 is arbitrary and capricious and ultra vires in nature, lacking underlying authority

and the reasoned-analysis footing required by the APA (5 U.S.C. §706(2)(A)). Third, Notice

2016-66 cannot “take effect” based upon the failure of the IRS to submit it to the Congress and

the Comptroller General in accordance with the Congressional Review of Agency Rule-Making

Act (“CRA,” 5 U.S.C. §801(a)(1)(A), et seq.)


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 / Plaintiff CRC Services, LLC filed a similar, previous complaint for injunctive and declaratory
relief with this Court on December 28, 2016 (Docket No. 3:16-cv – 00709, assigned to District
Judge J. Ronnie Greer) but dismissed that case without prejudice, in accordance with Rule 41(a)
of the Federal Rules of Civil Procedure, on December 30, 2016, immediately following the
issuance of Notice 2017-08.



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                                  JURISDICTION & VENUE

       1.      This Court has jurisdiction over the causes of action herein alleged under 28

U.S.C. §1331 (“federal question” jurisdiction over all civil actions arising under the Constitution,

laws, or treaties of the United States) and pursuant to the APA, 5 U.S.C. §702 (authorizing

judicial review of alleged legal wrongs arising from agency action).

       2.      Venue lies here under 28 U.S.C. §1391(e)(C) (judicial district in which defendant

is the United States or a federal agency and a plaintiff resides in such district and the cause of

action does not involve real property).


                            IDENTIFICATION OF THE PARTIES

       3.      Plaintiff CIC Services, LLC, (“CIC”), a manger of captive insurance companies,

is a limited liability corporation with offices at 1111 N. Northshore Drive, Suite N325,

Knoxville, Tennessee 37919.

       4.      Plaintiff Ryan, LLC, a broad-based accounting, consulting, and tax services

corporation, which also manages captive insurance companies, maintains its headquarters at

Three Galleria Tower, 13155 Noel Road, Suite 100, Dallas, Texas 75240-5090.

       5.      Defendants IRS and the Department of the Treasury (both agencies of the United

States) maintain their principal offices in the District of Columbia. Service upon the Defendant

United States will be made upon the Attorney General of the United States in Washington, D.C.

and the Acting U.S. Attorney for the Eastern District of Tennessee, in Knoxville, Tennessee.


                                 GENERAL ALLEGATIONS

       The general factual allegations giving rise to the causes of action asserted in this case are

as follows:




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       Relevant Background

       6.      Captive insurance companies (“captives”) are a variety of property and casualty

insurance companies that are owned and used by the primary insured itself or by the owner of the

insured or an affiliated company of the insured to insure risks of the insured or its affiliate or of

other insurance companies. They do not offer insurance to the public; rather, loosely speaking,

they are vehicles for a type of formalized and partial self-insurance.

       7.      For tax purposes, current law recognizes three general levels of captives:

       (a)     Large captives that can receive unlimited premiums and are therefore generally

               maintained by large, public companies like those listed on the Fortune 500 to

               achieve a multiplicity of financial and economic benefits conferred by Congress

               (26 U.S.C §832);

       (b)     Smaller captives that can receive premiums not exceeding $1.2M per year and are

               therefore generally maintained by small and mid-sized companies and are allowed

               to achieve many of the same benefits realized by Fortune 500 companies. (26

               U.S.C. §831(b)) 2/; and

       (c)     The smallest captives that can receive premiums not exceeding $350K per year

               and provide commensurate benefits. (26 U.S.C. §501(c)(15).

       8.      IRS Notice 2016-66, a copy of which is attached hereto as Exhibit 1, relates to

the second category of captive described immediately above, i.e., §831(b) captives.



2
 / §831(b) was substantially rewritten by Congress in 2016 for tax years after 2016. See Pub. L.
114-113, Sec. 333. This legislation reaffirmed the long-standing public policy in support of
§831(b) captives and increased the amount of the premium ceiling from $1.2M to $2.2M. Id.
The case at bar involves only 2016 and prior years; therefore, the new law is not implicated in
Notice 2016-66.



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        9.      A copy of IRS Notice 2017-08, modifying Notice 2016-66 so as to extend the

mandatory reportorial filing date from January 30, 2017 to May 1, 2017, is attached hereto as

Exhibit 2.

        10.      For many years, §831(b) and related “safe-harbor” revenue rulings have

advanced important public policy goals by authorizing a range of tax benefits including: (a) the

obtainment of customized insurance coverage through an insurance company established and

controlled by the taxpayer; (b) the deductibility of up to $1.2M in annual insurance premiums

paid to the captive; (c) no tax due on the insurance premiums received by the captive; and (d) the

return of any captive profits to the taxpayer in the form of qualified dividends which are taxed at

capital gains rates.

        11.     The IRS attacked the existence of the large captive insurance companies for

decades and lost significant court cases in the U.S. Circuit Courts, thus effectively compelling

the IRS’s retreat. Having lost its battle against the large captives, the IRS turned its attention to

the smaller §831(b) captives.

        Initiation of IRS 831(b) Audit Program

        12.     Beginning in or about 2012, the IRS initiated a broad-based, dragnet-type audit

program, generally claiming that §831(b) fostered abusive tax-shelter arrangements, thereby

disparaging many hundreds, perhaps thousands, of insureds, their captives, their professional

captive managers like the Plaintiff, and other advisors. 3/


3
 / As a practical matter, it is essential for small business people to engage a §831(b) captive
manager due to the substantial insurance infrastructure requirements imposed by IRS rules and
regulations and requirements of the jurisdiction licensing the captive. §831(b) captive managers
include small and medium-size businesses like the Plaintiffs, as well as some very large NYSE
insurance companies like the Marsh & McLennan Companies and Arthur Gallagher & Co.,
provide §831(b) captive management services.



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       13.     The IRS audit program has included sweeping document demands such as those

looked upon with disfavor by the Sixth Circuit in In re U.S. v. NorCal Tea Party Patriots, 817

F.3d 953, 957-58 (6th Cir. 2016), affirming NorCal Tea Party Patriots v. IRS, Case No. 1:13-cv-

341, 2014 U.S. Dist. LEXIS 97229 (S.D.Ohio July 17, 2014).

       14.     In conducting its audits, the IRS demonstrates a stubborn resistance to adopting

the Sixth Circuit’s teaching that the IRS is not permitted to punish taxpayers for making the most

of tax-minimizing opportunities that are lawfully enacted by Congress. See Summa Holdings,

Inc. v. Commissioner, 848 F.3d 779, 2017 U.S. App. LEXIS 2713, *25 (6th Cir. Feb. 16, 2017).

       15.     The IRS has tar-brushed all §831(b) captives (and their related entities) by

including them in its “Dirty Dozen” list of “Tax Scams,” implying the existence of widespread

and egregious taxpayer abuse, scams, fraud, and the like and tainting legitimate captive managers

like the Plaintiffs as “promoters” of “tax avoidance schemes.” See IRS News Release, attached

hereto as Exhibit 3.

       16.     As a result of the IRS audit program, the §831(b) market has, of course, been

substantially constricted, negatively affecting captive managers, their employees, and many

others who rely on the captive industry for employment, including residents of the State of

Tennessee, which, at least for the moment, enjoys a robust captive insurance marketplace.

       17.     Although there are hundreds of audits underway, only three §831(b) cases have

been tried (all in the U.S. Tax Court) since the audit program began: Avrahami v. Commissioner,

Tax Ct. Dkt. No. 17594-13, Caylor Land & Development v. Commissioner, Tax Ct. Dkt. No.

17204-13, et seq., and Wilson v. Commissioner, Tax Ct. Dkt. No. 026547-13.

       18.     All three of the above-captioned cases were tried before U.S. Tax Court Judge

Mark Holmes, who has announced that at least one of the cases will be decided by an en banc




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Tax Court decision to be issued this Summer, thus providing some guidance and a level of

certainty for the captive community going forward.

          Promulgation of Notice 2016-66
                                                                                             4
          19.    IRS Notice 2016-66 designates certain “micro-captive transactions”              / as

“transactions of interest” (Notice at §3.01) and such designation makes many of their operations

“reportable transactions” under 26 CFR 1.6011-4(b)(6).

          20.    Notice 2016-66 requires reportorial returns covering broad categorical types of

activity (§3.05) engaged in by §831(b) captives that (a) had combined claims and administration

expenses totaling less than 70% of premiums or (b) engaged in loans with an affiliate. See Notice

at §2.01(e). This would include the vast majority of §831(b) captives. Indeed, were the same

defining characteristics applied to ordinary commercial insurance carriers, many of them would

be implicated as well.

          21.    The defining characteristics set forth immediately above are not prohibited or

otherwise deemed contrary to law. See 26 U.S.C. §831(b). Indeed, Tax Court precedent has

found no fault with loss/expense ratios as low as 1% over extended periods of time 5/ and has not

challenged loans by captives to affiliates. 6/


4
 / The IRS calls the transactions it describes in Notice 2016-66 “micro-captive transactions” and
says those transactions are governed by 26 U.S.C. §831(b). Micro-captive transactions, however,
are not governed by §831(b); rather, they are governed by 501(c)(15). “Mini-captive
transactions” are covered by §831(b) and match the transactions described in Notice 2016-66.
Inasmuch as Notice 2016-66 describes transactions that match mini-captive transactions, and
says the transactions it describes are governed by §831(b), it does not appear the IRS intended to
label micro-captive transactions as “transactions of interest”; it is simply a mistake in labeling.
5
 / See RVI Guaranty v. Commissioner, 145 T.C. No. 9 (2015) (“An insurer may go many years
without paying an earthquake claim; this does not mean that the insurer is failing to provide
‘insurance’”); see also Securitas Holdings, Inc., et al. v. Commissioner, T.C. Memo 2014-225.
6
    / See Rent-a-Center v. Commissioner, 142 T.C. No. 1 (2014).


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       22.     Despite the permissibility of transactions with such characteristics, Notice 2016-

66 authorizes substantial penalties for a failure to report transactions of interest by two distinct

classes of persons, as follows:

       (a)     First, insureds, captives, their owners and managers must tell the IRS when they

       “participate” in a mini-captive transaction. See Notice at §3.06, 26 CFR 1.6011-4(a).

       Failure to do so by the taxpayer incurs a penalty. 26 U.S.C. §6707A.

       (b)     Second, “material advisors” to mini-captive transactions, e.g. lawyers,

       accountants, and captive managers like the Plaintiffs, “shall make a return . . . setting

       forth certain statutorily enumerated information about the transaction (See 26 U.S.C.

       §6111(a)). Again, failure to do so incurs a penalty. 26 U.S.C. §6707A; see also Interior

       Glass Systems, Inc. v. U.S., reported at 118 A.F.T.R.2d 2016 5497 (N.D. Cal., decided

       August 12, 2016) (violation need not be willful and penalty may not be appealable).

       23.     Material advisors must also maintain a list identifying each person with respect to

whom such advisors acted as a material advisor with respect to a reportable transaction and

containing such other information as the Secretary of the Treasury may require (26 U.S.C.

§6112(a). Once again, failure to comply may incur a penalty. (26 U.S.C. §6708(a)).

       24.      IRS Notice 2016-66 was issued on November 1, 2016 and went into effect on the

same date. See Notice at §3.01. On May 1, 2017, informational returns reporting transactions of

interest will be due by thousands of taxpayers across the nation, including captives, captive

managers, insureds, their owners, and their material advisors. 7/




7
 / Notice 2017-08 extended the 90 day period to 180 days (Notice at .03), from January 30, 2017
to May 1, 2017 (because April 30 is a Sunday). Id.



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       25.     Notice 2016-66 provided no prior notice or mechanism for public comment, but

did invite after-the-fact public comment at §4.

       26.     Many representatives of the captive industry, including the Plaintiffs, have

supported various legislative and administrative efforts to ameliorate the harsh impact of Notice

2016-66, unfortunately all to no avail. This eleventh-hour lawsuit is now the only remedy

available to prevent a grave injustice.

                            FIRST CAUSE OF ACTION:
                 IRS FAILURE TO OBSERVE NOTICE-AND-COMMENT
                    REQUIREMENTS IN VIOLATION OF THE APA

       27.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1-26 supra., as if fully set forth herein

       28.     The APA provides that “[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of the relevant

statute, is entitled to judicial review thereof.” 5 U.S.C. §702.

       29.     The APA further empowers this Court to “hold unlawful and set aside agency

action, findings, and conclusions found to be . . . without observance of procedure required by

law.” 5 U.S.C. §706(2)(D).

       30.     Pursuant to the APA, certain “rules” promulgated by an agency must be published

in accordance with notice-and-comment procedures. 5 U.S.C. §553. An agency’s failure to

comply with notice-and-comment procedures is grounds for invalidating the rule.

       31.     Notice 2016-66 is a “rule” within the meaning of the APA, defined as the “whole

or part of an agency statement of general or particular applicability and future effect designated

to implement, interpret, or prescribe law or policy.” See 26 U.S.C. §551(4).




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         32.       The IRS is an “agency” within the meaning of the APA. See 5 U.S.C. §§551(1)

  and 552(f)(1).

         33.       Notice 2016-66 qualifies as a “substantive” or “legislative-type” agency rule,

  which is the type that, prior to its promulgation, must be subjected to the APA’s notice-and-

  comment regime as a matter of law. See 5 U.S.C. §553.

         34.       The APA’s four-step notice-and-comment regime requires the following:

         (a) First, the agency must issue a “general notice of proposed rule-making” that shall be

               published in the Federal Register (5 U.S.C. §553(b), “not less than 30 days before its

               effective date.” Id.

         (b) Second, “the agency shall give interested persons an opportunity to participate in the

               rule-making through submission of written data, views or arguments.” Id. at §553(c).

         (c) Third, the agency “must consider and respond to significant comments received

               during the period for public comment.” See Perez v. Mortgage Bankers Ass’n, 135 S.

               Ct. 1199. 1203 (2015).

         (d) Fourth, when the agency files the final rule, it shall include in the rule’s text “a

               concise general statement of [its] basis and purpose.” 5 U.S.C. §553.

         35.       In issuing Notice 2016-66, the IRS failed to comply with the above requirements.

         36.       No potential exceptions to the notice-and-comment requirements apply to Notice

  2016-66 as it is neither an “interpretive rule” under 5 U.S.C.§§553(b)(A), nor was there any

  finding of good cause to bypass such procedural requirements in accordance with 5 U.S.C.

  §§553(b)(B), (d)(3).

         37.       Having failed to comply with the notice-and-comment rulemaking requirements,

  Notice 2016-66 was promulgated unlawfully and Plaintiffs have been and will be adversely




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  affected by Defendants unlawful conduct, which is reviewable by this Court under the APA,

  5 U.S.C.§706.

         38.      The IRS acted unlawfully in promulgating Notice 2016-66 and the Department of

  the Treasury participated in such unlawful action by the delegation of its authorities and

  otherwise.

         39.      Plaintiffs, if required to comply with Notice 2016-66, will sustain actual damages

  that are concrete and particularized in nature.

         40.      Plaintiffs, if compelled to comply with Notice 2016-66, estimate that each of them

  will be required to expend hundreds of hours of labor and in excess of $60,000 per year in direct

  and indirect costs in satisfaction thereof or risk substantial penalties, beginning with the first

  reporting date on May 1, 2017, and continuing every year thereafter.

                            SECOND CAUSE OF ACTION:
                  ARBITRARY, CAPRICIOUS AND ULTRA VIRES ACTIONS
                             IN VIOLATION OF THE APA

         41.      Plaintiffs re-allege and incorporate by reference the allegations contained in

  paragraphs 1 through 40, supra., as if fully set forth herein.

         42.      The APA empowers this Court to “hold unlawful and set aside agency actions,

  findings, and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or

  otherwise not in accordance with law.” 5 U.S.C. §706(2)(A).

         43.      The APA also empowers this Court to “hold unlawful and set aside agency action,

  findings, and conclusions found to be . . . in excess of statutory jurisdiction, authority, or

  limitations, or short of statutory rights [ultra vires actions].” 5 U.S.C. §706(2)(C).

         44.      Notice 2016-66 is the result of arbitrary and capricious rulemaking that is not

  based on a reasoned analysis as legally required by the APA.




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         45.     In Notice 2016-66, Defendants purport to be acting to require informational

  returns regarding transactions of interest as possible tax avoidance transactions pursuant to

  existing authority, pointing to 26 CFR 1.6011-4(b)(6) and I.R.C. §§ 6111 and 6112. See Notice

  2016-66 at 1-2.

         46.     26 CFR 1.6011-4(b)(6) merely provides that a transaction of interest is one which

         “. . . is the same as, or substantially similar to, one of the types of transactions that the

  IRS has identified by notice, regulation, or other form of published guidance. . .”

         47.     In adopting 26 CFR 1.6011-4(b)(6), the IRS indicated as follows:

          “. . . a transaction of interest is a transaction that the IRS and the Treasury
         Department believe has a potential for tax avoidance or evasion, but for which the
         IRS and the Treasury Department lack enough information to determine whether
         the transaction should be identified specifically as a tax avoidance transaction.”

  72 FR 434146-01 at p. 2, Transactions of Interest (emphasis added).

         48.     In sum, the IRS claims legal authority to require the filing of informational returns

  regarding behavior which it deems a “transaction of interest.” Nevertheless, however, the IRS

  admits it is unable to implicate such behavior in any definable tax avoidance scheme despite

  having already conducted a substantial number of §831(b) audits.

         49.     The overwhelming majority—if not all—of the information legitimately needed

  by the IRS to assess the legal validity of any §831(b) transaction is already available to it through

  normal channels and filings that do not impose additional burdens or expenses on filers. See IRS

  Form 1120-PC, attached hereto as Exhibit 4, the annual tax return which each §831(b) captive is

  required to file under existing law.

         50.        The IRS had no rational foundation for the imposition of additional informational

  return requirements in accordance with Notice 2016-66 consistent with their legal authority to




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  conduct the lawful administrative enforcement of our federal tax laws. Therefore, it is in

  violation of 5 U.S.C. §706(2)(A).

         51.      In promulgating Notice 2016-66, the IRS and Treasury have engaged in ultra

  vires behavior in excess of their statutory authority and, therefore, it is in violation of

  5 U.S.C. §706(2)(C).

         52.     Had the IRS permitted and reasonably considered public comment prior to the

  issuance of Notice 2016-66, it would have been alerted to the above-referenced facts and

  problems, and it would have had an opportunity to adjust its reportorial demands accordingly.

  Its failure to do so is further evidence of arbitrary and capricious decision-making.

         53.     Significant public comment was provided to the IRS after the fact with respect to

  Notice 2016-66 but the IRS refused to “consider and respond” to such comment and to amend

  and reissue its reportorial demands accordingly, as required by law. See ¶34, supra.

         54.     Plaintiffs and numerous other taxpayers, if compelled to comply with Notice

  2016-66, will not only be required to expend substantial sums of money in satisfaction thereof;

  they will also be wrongfully and irrevocably harmed and aggrieved by the false implication that

  they are members of the IRS’s “Dirty Dozen” and participants in a tax scam.

         55.     Defendants’ unlawful behavior has seriously damaged the Plaintiffs who, if

  compelled to comply with Notice 2016-66, will be required to expend substantial sums of money

  for years to come in satisfaction thereof, or risk substantial penalties for noncompliance.

         56.     Notice 2016-66 unfairly implicates many legitimate captives, unnecessarily

  requires burdensome and expensive filings by a substantial number of taxpayers, and, without

  foundation, seeks to publicly taint the entire captive industry as one filled with crooked

  operatives and tax scammers.




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         57.       While the avowed purpose of Notice 2016-66 is to obtain information that will

  assist the IRS in determining whether captives are being improperly utilized for tax avoidance

  purposes, it would appear that the IRS seeks to subvert the express will of Congress as embodied

  in §831(b). 8/

                               THIRD CAUSE OF ACTION:
                    IRS FAILURE TO COMPLY WITH 5 U.S.C. §801(a)(1)(A)

         58.       Plaintiffs re-allege and incorporate by reference the allegations contained in

  paragraphs 1 through 57, supra., as if fully set forth herein.

         59.       The Congressional Review of Agency Rule Making Act, (also referred to as the

  Small Business Regulatory Enforcement Fairness Act) (“CRA,” 5 U.S.C. §801, et seq.),

  permitting Congressional disapproval of agency rules, provides as follows:

         “Before a rule can take effect, the Federal agency promulgating such rule shall
         submit to each House of the Congress and to the Comptroller General a report
         containing – (i) a copy of the rule [and additional information].”

  5 U.S.C. §801(a)(1)(A).

         60.       The CRA goes on to provide that a “rule” has the meaning given such term in the

  APA with certain exceptions irrelevant to Notice 2016-66. See 5 U.S.C. §551, supra at ¶31.

         61.       Notice 2016-66 constitutes a “rule” within the meaning of the CRA.

         62.       A review of relevant governmental websites reveals that the IRS failed to submit

  Notice 2016-66 to Congress and to the Comptroller General and, if it had, Congress might very

  well have disapproved and rejected Notice 2016-66.

         63.       Accordingly, Notice 2016-66 never took effect and is therefore a nullity.

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   / It also appears that the IRS seeks to undermine the reverse preemption provisions of the
  McCarran-Ferguson Act, 15 U.S.C. §1011, et seq., which generally bars federal regulation of the
  insurance industry.




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            64.   Notwithstanding some non-controlling judicial authority to the contrary, this

  Court is not barred by 5 U.S.C. §805 from determining that Notice 2016-66 failed to take legal

  effect.

            65.   §805 is ambiguous in nature, and a literal application of its language will produce

  a result that is demonstrably at odds with both logic and Congressional intent.

            66.   A fair reading of the legislative history of §805 establishes that it does not impose

  a jurisdictional bar to the relief provided by §801.

                              FOURTH CAUSE OF ACTION:
                         REQUEST FOR DECLARATORY JUDGMENT

            67.   Plaintiffs re-allege and incorporate by reference the allegations contained in

  paragraphs 1 through 66, supra., as if fully set forth herein.

            68.   The Declaratory Judgment Act, 28 U.S.C. §2201, and Rule 57 of the Federal

  Rules of Civil Procedure grant this Court authority to declare Plaintiff’s legal rights when an

  actual controversy exists between the parties.

            69.   As stated herein above, Plaintiffs and Defendants have adverse legal interests that

  are of sufficient immediacy and reality to warrant the issuance of a declaratory judgment in

  accordance with 28 U.S.C. §2201.

            70.   Defendants failed to comply with the APA’s notice-and-comment provisions in

  promulgating Notice 2016-66.

            71.   Nothing in this lawsuit seeks to restrain the assessment or collection of taxes, only

  the arbitrary demand for information unrelated to any instances of such assessment or collection.

            72.   For the above-described reasons, Plaintiffs respectfully request this Court to

  declare that Notice 2016-66 violates the notice-and-comment provisions of the APA and to

  further declare that such Notice is therefore invalid.


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  Date: March 27, 2017

                                    Respectfully submitted,


                                    s/ _Kenneth A. Lazarus_______________________
                                    Kenneth A. Lazarus (motion for admission pending)
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                                    Washington, D. C. 20007
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                                    s/ Adam R. Webber_________________________
                                    Adam R. Webber (motion for admission pending)
                                    FALKE & DUNPHY LLC
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